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                      IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION

  In re:                                          §
                                                  §            Case No. 23-30960 (jpn)
  Sourcewater, Inc. dba Sourcenergy,              §
                                                  §                     Chapter 11
            Debtor.                               §                    Subchapter V


      NOTICE OF FILING STATEMENT OF CASH FLOWS, PROFIT AND LOSS
            STATEMENT, AND BALANCE SHEET FOR THE PERIOD
                     JANUARY 1, 2023 – MARCH 17, 2023


       PLEASE TAKE NOTICE of the attached Debtor’s:

             1. Statement of Cash Flows;

             2. Profit and Loss Statement; and

             3. Balance Sheet.

Each of these financial documents are for the period January 1, 2023 – March 17, 2023.

           Dated: April 18, 2023
                                             Respectfully submitted,

                                             CHAMBERLAIN, HRDLICKA, WHITE,
                                                   WILLIAMS & AUGHTRY, P.C.


                                             By: /s/ Jarrod B. Martin
                                             Jarrod B. Martin
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                                             Proposed Counsel for Debtor



NOTICE OF FILING STATEMENT OF CASH FLOWS, PROFIT AND LOSS STATEMENT, AND BALANCE SHEET FOR
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                                                   Sourcenergy, Inc.
                                                    Profit and Loss
                                                   January - December, 2023

                                                               Jan-23             Feb-23        Mar 1-17, 23           Total
       Income
        Sales
          Data Base Subscriptions                                59,031.88          51,099.59        52,274.56          162,406.03
          Late Fees + CC Fees                                                                                                    0.00
          Services                                                                   1,675.89         1,692.87            3,368.76
        Total Sales                                       $     59,031.88    $     52,775.48    $    53,967.43    $     165,774.79
       Total Income                                       $     59,031.88    $     52,775.48    $    53,967.43    $     165,774.79
       Cost of Goods Sold
        Data Costs                                                5,550.00           7,000.00         8,000.00           20,550.00
        Website Hosting & Support                                16,272.05                                               16,272.05
       Total Cost of Goods Sold                           $     21,822.05    $       7,000.00   $     8,000.00    $      36,822.05
       Gross Profit                                       $     37,209.83    $     45,775.48    $    45,967.43    $     128,952.74
       Expenses
        Advertising - Digital                                       30.05            1,607.51                             1,637.56
        Advertising - Marketing                                   2,735.42              52.23            27.23            2,814.88
        Bank Charges                                                26.56               50.00            50.51                 127.07
        Conference Fees                                                               480.00          1,820.06            2,300.06
        Industry Events/Materials                                                     450.00                                   450.00
        Insurance                                                 1,205.49           1,205.49           910.26            3,321.24
        Interest Expense                                           699.13             630.50            613.90            1,943.53
        Meals and Entertainment                                                                                                  0.00
          Travel Meals                                                                                                           0.00
        Total Meals and Entertainment                     $          0.00    $          0.00    $         0.00    $             0.00
        Memberships                                                                                                              0.00
        Merchant Processing Fees                                    51.00               52.00            32.00                 135.00
        Office Expenses                                                                                                          0.00
        Office Rent                                                 30.00               30.00            30.00                  90.00
        Online Software & Subscriptions                           2,578.09           2,629.79           819.68            6,027.56
        Payroll
          Commissions                                             1,984.64           4,279.82             0.00            6,264.46
          Employer Taxes                                          3,613.73           1,354.57           537.79            5,506.09
          Health Care                                             5,928.40           4,816.78           462.21           11,207.39
          Health Care - Employee Deductible                      -1,969.56          -2,201.86          -140.78            -4,312.20
          Processing Fees                                          242.11             103.00            221.33                 566.44
          Severance Pay                                                             14,318.26                            14,318.26
          Wages                                                  44,761.52          30,641.59         3,745.02           79,148.13
        Total Payroll                                     $     54,560.84    $     53,312.16    $     4,825.57    $     112,698.57
        Product Consulting                                                                                                       0.00
        Professional Fees
          General                                                                                                                0.00
          Legal & Accounting                                      2,391.00          12,799.38        55,575.00           70,765.38
          Marketing Consulting                                                                                                   0.00
          Patent Work                                             5,553.00           2,370.00         2,865.00           10,788.00
          Product Development                                     4,350.00           3,629.00                             7,979.00
        Total Professional Fees                           $     12,294.00    $     18,798.38    $    58,440.00    $      89,532.38
        Research & Development                                                          28.00            28.00                  56.00
        Shipping & Postage                                                                                                       0.00
        Taxes & Licenses                                                                                                         0.00
        Travel                                                                                                                   0.00
        Utilities                                                  -144.89            158.00            166.14                 179.25
       Total Expenses                                     $     74,065.69    $     79,484.06    $    67,763.35    $     221,313.10
       Net Operating Income                               -$    36,855.86    -$     33,708.58   -$   21,795.92    -$     92,360.36
       Other Income
        Other Income                                                                                                             0.00
       Total Other Income                                 $          0.00    $          0.00    $         0.00    $             0.00
       Other Expenses
        Interest Expense-Convertible Notes                        8,138.33           8,138.33                            16,276.66
        Energy Debt Holdings LLC - Interest Paid                                                                                 0.00
        Loss on Fixed Asset Disposal                                                                                             0.00
       Total Other Expenses                               $      8,138.33    $       8,138.33   $         0.00    $      16,276.66
       Net Other Income                                   -$     8,138.33    -$      8,138.33   $         0.00    -$     16,276.66
       Net Income                                         -$    44,994.19    -$     41,846.91   -$   21,795.92    -$    108,637.02


       EBITDA                                                   -36,156.73         -33,078.08        -21,182.02          -90,416.83
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                                                           Sourcenergy, Inc.
                                                            Balance Sheet
                                                            As of March 17, 2023

                                                                                   Jan-23              Feb-23           March 17, 2023
      ASSETS
       Current Assets
         Bank Accounts
          Cash Clearing                                                                       0.00               0.00                  0.00
          Checking - Amegy 6048                                                         -5,647.98           -4,953.08             -6,822.41
          Checking - BB&T 9075                                                              456.02            456.02                456.02
          Checking - TD Bank 5650                                                       1,510.00            1,510.00              1,510.00
          Savings - Amegy Sweep 8818                                                     -254.88             -254.88               -254.88
         Total Bank Accounts                                                 -$          3,936.84 -$         3,241.94 -$           5,111.27
         Accounts Receivable
          Accounts Receivable                                                         204,573.79          198,421.08            202,655.23
         Total Accounts Receivable                                           $        204,573.79 $        198,421.08 $          202,655.23
         Other Current Assets
          Due from Wellsite Navigator                                                         0.00               0.00                  0.00
          Prepaid Expenses                                                             14,050.19           13,595.36             13,595.36
          Undeposited Funds                                                                   0.00               0.00                  0.00
         Total Other Current Assets                                          $          14,050.19 $         13,595.36 $           13,595.36
       Total Current Assets                                                  $        214,687.14 $        208,774.50 $          211,139.32
       Fixed Assets
         Computers & Peripherals                                                              0.00               0.00                  0.00
         Fixed Asset Office Equipment                                                         0.00               0.00                  0.00
         Intangible Assets                                                              7,578.16            7,578.16              7,578.16
         Leasehold Improvements                                                               0.00               0.00                  0.00
         x Accumulated Depreciation                                                           0.00               0.00                  0.00
       Total Fixed Assets                                                    $           7,578.16 $          7,578.16 $            7,578.16
       Other Assets
         Security Deposits                                                                    0.00               0.00                  0.00
       Total Other Assets                                                    $                0.00 $             0.00 $                0.00
      TOTAL ASSETS                                                           $        222,265.30 $        216,352.66 $          218,717.48
      LIABILITIES AND EQUITY
       Liabilities
         Current Liabilities
          Accounts Payable
            Accounts Payable                                                          223,168.05          228,348.43            241,152.43
          Total Accounts Payable                                             $        223,168.05 $        228,348.43 $          241,152.43
          Credit Cards
            CC - Amegy 9040 Control                                                    49,900.21           53,171.25             53,252.92
                CC - Amegy 1358 D Wallin                                                      0.00               0.00                  0.00
                CC - Amegy 2687 S Brown                                                       0.00               0.00                  0.00
                CC - Amegy 9057 J Adler                                                       0.00               0.00                  0.00
                CC - Amegy 9081 D Moorefield                                                  0.00               0.00                  0.00
                CC - Amegy 9099 J Halpern                                                     0.00               0.00                  0.00
            Total CC - Amegy 9040 Control                                    $          49,900.21 $         53,171.25 $           53,252.92
            CC - Amegy 9040 Control CC - Amegy 0293 L McDougald                               0.00               0.00                  0.00
          Total Credit Cards                                                 $          49,900.21 $         53,171.25 $           53,252.92
          Other Current Liabilities
            Accrued Payroll Liability                                                  83,087.50           91,934.66             96,358.24
            Customer Deposits                                                                 0.00               0.00                  0.00
            Energy Debt Holdings LLC - Loan Payable                                   529,152.61          529,152.61            529,152.61
            Payroll Clearing                                                                779.38            276.56                108.55
            Sales Tax Payable                                                          11,463.72           10,907.99             10,907.99
            Unearned Revenue                                                          297,243.92          251,325.83            199,051.27
          Total Other Current Liabilities                                    $        921,727.13 $        883,597.65 $          835,578.66
         Total Current Liabilities                                           $       1,194,795.39 $      1,165,117.33 $        1,129,984.01
         Long-Term Liabilities
          Convertible Note Payable-Investors                                          400,749.66          400,749.66            400,749.66
          Interest Accrued - Convertible Notes Investors                              134,869.90          139,708.23            139,708.23
          Interest Accrued - Notes Payable Officer                                     69,050.00           72,350.00             72,350.00
          Note Payable-Officer                                                      1,029,014.05        1,089,014.05          1,149,014.05
          Notes Payable - EIDL Loan                                                   494,848.00          492,322.00            489,796.00
          Notes Payable - PPP Loan                                                            0.00               0.00                  0.00
         Total Long-Term Liabilities                                         $       2,128,531.61 $      2,194,143.94 $        2,251,617.94
       Total Liabilities                                                     $       3,323,327.00 $      3,359,261.27 $        3,381,601.95
       Equity
         APIC - Series A                                                            7,682,645.91        7,682,645.91          7,682,645.91
          Series A Legal Fees                                                        -120,638.62         -120,638.62           -120,638.62
         Total APIC - Series A                                               $       7,562,007.29 $      7,562,007.29 $        7,562,007.29
         Common Stock                                                                   4,000.00            4,000.00              4,000.00
         Retained Earnings                                                         -10,622,074.80      -10,622,074.80        -10,622,074.80
         Net Income                                                                    -44,994.19          -86,841.10          -106,816.96
       Total Equity                                                          -$      3,101,061.70 -$    3,142,908.61    -$    3,162,884.47
      TOTAL LIABILITIES AND EQUITY                                           $        222,265.30 $        216,352.66 $          218,717.48
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                                                               Sourcenergy, Inc.
                                                           Statement of Cash Flows
                                                                January 1 - March 17, 2023

                                                                                                                                    Mar 1-17,
                                                                                                 Jan 2023           Feb 2023         2023                 Total
OPERATING ACTIVITIES
 Net Income                                                                                        -44,994.19         -41,846.91        -19,975.86        -106,816.96
 Adjustments to reconcile Net Income to Net Cash provided by operations:                                                                                           0.00
   Accounts Receivable                                                                             71,465.22           6,152.71          -4,234.15         73,383.78
   Prepaid Expenses                                                                                   454.83             454.83                               909.66
   Accounts Payable                                                                                -11,921.25          5,180.38         12,804.00           6,063.13
   CC - Amegy 9040 Control                                                                          -4,534.72          3,271.04             81.67           -1,182.01
   CC - Amegy 9040 Control:CC - Amegy 9057 J Adler                                                    605.24                                                  605.24
   CC - Amegy 9040 Control CC - Amegy 0293 L McDougald                                                 88.33                                                      88.33
   Accrued Payroll Liability                                                                        8,847.16           8,847.16          4,423.58          22,117.90
   Payroll Clearing                                                                                  -112.50            -502.82           -168.01            -783.33
   Sales Tax Payable                                                                                 -900.55            -555.73                             -1,456.28
   Unearned Revenue                                                                                -49,231.88         -45,918.09        -52,274.56        -147,424.53
 Total Adjustments to reconcile Net Income to Net Cash provided by operations:               $     14,759.88    -$    23,070.52    -$   39,367.47    -$    47,678.11
Net cash provided by operating activities                                                    -$    30,234.31    -$    64,917.43    -$   59,343.33    -$   154,495.07
FINANCING ACTIVITIES
 Interest Accrued - Convertible Notes Investors                                                     4,838.33           4,838.33                             9,676.66
 Interest Accrued - Notes Payable Officer                                                           3,300.00           3,300.00                             6,600.00
 Note Payable-Officer                                                                              30,000.00          60,000.00         60,000.00         150,000.00
 Notes Payable - EIDL Loan                                                                          -2,526.00          -2,526.00         -2,526.00          -7,578.00
Net cash provided by financing activities                                                    $     35,612.33    $     65,612.33    $    57,474.00    $    158,698.66
Net cash increase for period                                                                 $      5,378.02    $        694.90    -$    1,869.33    $      4,203.59
